                                                                                  From:           M. JEnkins
                                                                                  To:             Paul Driscoll
                                                                                  Subject:        Fwd: Character Reference Letter
                                                                                  Date:           Monday, November 4, 2024 8:11:02 PM
                                                                                  Hi,
                                                                                  I am forwarding this character reference letter for Davian Jenkins.
                                                                                  Sent from my iPhone
                                                                                  Begin forwarded message:
                                                                                         From: Justina Brehon <jbrehon625@gmail.com>
                                                                                         Date: October 22, 2024 at 1:17:48 PM EDT
                                                                                         To: chrisandlynn07@gmail.com
                                                                                         Subject: Character Reference Letter
                                                                                         ﻿
Case 2:22-cr-00147-AWA-DEM Document 595 Filed 11/05/24 Page 1 of 1 PageID# 6828
